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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

DIGITAL MEDIA SOLUTIONS, LLC,                 )   CASE NO. 1:19-cv-145
                                              )
                Plaintiff,                    )   JUDGE DAN AARON POLSTER
                                              )
         v.                                   )   MAGISTRATE JUDGE
                                              )   THOMAS M. PARKER
SOUTH UNIVERSITY OF OHIO, LLC                 )
et al.,                                       )
                                              )
                Defendants.                   )

 The Receiver’s Opposition to Motion of 3601 Sunflower, LLC to Vacate the
Injunction and Receiver Order or, in the Alternative, to Modify the Scope of
                the Receiver Order and Injunction [Doc. 54]

I.       INTRODUCTION

         Instead of simply asking for relief from the stay—as all the other landlords to date

have done (see Docs. 47, 56, 59 & 65)—movant 3601 Sunflower, LLC (“Sunflower”)1 asks

this Court to vacate entirely its order appointing Mark Dottore as Receiver for the

Receivership Entities (the “Receiver”). See (Doc. 54). But this Court did not abuse its

discretion in appointing the Receiver,2 and Sunflower’s arguments that this Court

should, in essence, reconsider its decision are unpersuasive. Sunflower principally

argues that this Court “lacked equitable jurisdiction to grant the relief of the

appointment of a receiver to a creditor without a secured interest in or a lien against the

assets of Defendants.” Sunflower Memo. at 2 (Doc. 54). Sunflower’s position is curious

given the fact that the Defendants’ and the Receivership Entities’ senior secured lenders,

Flager Master Fund SPC Ltd. and U.S. Bank, N.A., have not objected to the

1 Sunflower owns the premises located at 3601 West Sunflower in Santa Ana, California, which it
leases to Argosy Education Group, LLC—one of the Receivership Entities.
2 The appointment of a receiver “is within the sound discretion of the District Judge.” Guy v.

Citizens Fid. Bank & Tr. Co., 429 F.2d 828, 834 (6th Cir. 1970).


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appointment of the Receiver and, instead, have moved to intervene in this action (Doc.

19), which motion was granted by this Court (Doc. 26).

         In any event, the Defendants admitted the Plaintiff’s claim and consented to the

appointment of the Receiver. See 12 Charles Alan Wright & Arthur R. Miller, Federal

Practice & Procedure § 2983 (3d ed. Nov. 2018 update) (“Of course, a receiver may be

appointed, even at the request of a contract claimant, if defendant admits the claim and

consents to the appointment . . . .”) (citing, among other authorities, In re Reisenberg,

208 U.S. 90 (1908)). The parties’ willing submission to this Court’s jurisdiction is

dispositive:

               A most absurd result would ensue if, when the corporation
               has submitted to the jurisdiction of the court, either as a
               court of equity or to the local jurisdiction, a creditor could
               come in, or, when brought in, might reopen the matter of
               jurisdiction over the debtor corporation. If such an objection
               is not waived once for all, so as to close the question as to
               stockholders and creditors, what number of creditors would
               conclude the rest? . . . We are therefore constrained to hold,
               for the purposes of this case, that the court below through
               diversity of citizenship obtained jurisdiction not only of the
               parties to the original suit, but also of a subject-matter
               equitable in its nature and embracing admitted facts
               sufficient to justify the appointment of the receiver.

Cincinnati Equip. Co. v. Degnan, 184 F. 834, 841 (6th Cir. 1910) (internal citations and

quotations omitted).

         Sunflower’s remaining arguments likewise fail. This Court, under binding Sixth

Circuit case law, may, in a receivership case, issue a blanket stay enjoining litigation by

non-parties, such as Sunflower. Likewise, the Anti-Injunction Act does not prohibit an

injunction barring the filing of a state court lawsuit. And, finally, given the early stages

of the receivership, the Court should not, at this time, lift the stay to allow Sunflower to

initiate an eviction action.
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II.      ARGUMENT

         A.    The Court Should Not Vacate Its Order Appointing the Receiver.

               1.     Defendants Consented to the Appointment of a Receiver.

         Relying principally on the Supreme Court’s decision in Pusey & Jones Co. v.

Hanssen, 261 U.S. 491 (1923), Sunflower argues that “the Court lacked equitable

jurisdiction to [appoint the Receiver]. As a result, the Receiver Order must be vacated.”

Sunflower Memo. at 4 (Doc. 54). Sunflower is wrong. The parties’ consent to the Court’s

jurisdiction is of paramount importance. As the Supreme Court in Pusey itself

recognized,

               lack of equity jurisdiction (if not objected to by a defendant)
               may be ignored by the court, in cases where the subject-
               matter of the suit is of a class of which a court of equity has
               jurisdiction. And where the defendant has expressly
               consented to action by the court, or has failed to object
               seasonably, the objection will be treated as waived.

Pusey & Jones Co., 261 U.S. at 500 (citing Brown, Bonnell & Co. v. Lake Superior Iron

Co., 134 U.S. 530, 535-36 (1890)); see also In re Reisenberg, 208 U.S. 90, 110 (1908)

(“That the complainant has not exhausted its remedy at law—for example, not having

obtained any judgment or issued any execution thereon—is a defense in an equity suit

which may be waived . . .and, when waived, the case stands as though the objection

never existed.”).

         Contrary to Sunflower’s arguments, the Supreme Court’s decision in Pusey does

not control. But its decision in In re Reisenberg does.

         In Reisenberg, two contract creditors of the New York City Railway Company

filed a complaint in the district court, whose subject-matter jurisdiction was based solely

on diversity, and alleged that they were owed over $40,000 “for rails and other track

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material and for labor done for the company.” 208 U.S. at 93. The railway company was

apparently insolvent and a defendant in a number of other pending lawsuits. Id. at 94-

95. “If judgment were obtained in any of these cases, or in any other of the cases where

creditors were pressing their demands, it would result in disastrous consequence to the

public . . . and thus the security for all the creditors for the ultimate payment of their

claims would be impaired and very greatly injured.” Id. For these reasons, the plaintiffs

asked the district court to, among other things, appoint a receiver and issue an

injunction against “all other persons, restraining them from interfering with the receiver

taking possession of the property.” Id. at 95.

         The New York City Railway Company answered the complaint, “which [answer]

admitted all the allegations of the [complaint],” and it joined in the plaintiffs’ request

that a receiver be appointed. Id. at 95-96. The district court granted the plaintiffs’

request, appointed a receiver, and “enjoined” all other persons “from interfering in any

way with the possession and management of the property by the receivers.” Id. at 96.

Soon thereafter, the Metropolitan Railway Company petitioned the district court to be

made a party to the lawsuit and that the receivership be extended to it as well. Id. The

Metropolitan Railway Company averred that it and the New York City Railway Company

“were so inextricably bound together that if the New York City Railway Company went

into the hands of a receiver, and all its property were taken possession of by that officer,

it was necessary, in the interest of all concerned, that the Metropolitan Railway

Company should also be made a party to the suit and the receivership extended to it.”

Id. at 97. The district court granted an order making the Metropolitan Railway Company

a party and extended the receivership to it.


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         Then additional creditors of the two railway companies moved, in essence, to

vacate the receivership on the ground that the suit was “filed collusively for the purpose

of avoiding the jurisdiction of the courts of the state, and for the purpose of creating a

case cognizable under the judiciary act of the United States by the United States courts.”

Id. at 97. These additional creditors also averred that the district court’s equity

jurisdiction was not properly invoked. Id. The district court overruled their objections,

and they then petitioned the Supreme Court for leave to file “a petition for a mandamus

. . . commanding [] the circuit court to dismiss the bill of complaint against the railroad

companies . . . and to vacate injunctions therein issued by such judge, and also to vacate

the orders appointing [] the receivers of such railroads.” Id. at 91-92.

         The Supreme Court overruled their arguments and dismissed their petitions.

First, the Court held although the defendant railway companies admitted the

indebtedness and consented to the appointment of a receiver, “there was such a

controversy between these parties as is contemplated by the statute.” Id. at 107.

         Next, the Court turned to the petitioners’ argument that the district court “had no

jurisdiction because the complainants were not judgment creditors, but were simply

creditors at large of the defendant railways.” Id. at 109. The Supreme Court summarily

rejected this argument: “The objection was not taken before the circuit court by any of

the parties to the suit, but was waived by the defendant consenting to the appointment

of the receivers, and admitting all the facts averred in the bill.” Id.

         Such is the case here. The Plaintiff, Digital Media Solutions, LLC (“DMS”), filed

its complaint and alleged that (1) the Defendants, South University of Ohio, LLC, Dream

Center Education Holdings, LLC (“DCEH”), and Argosy Education Group, LLC, owed it

$252,737 and (2) despite its demand for payment, the Defendants failed to pay. Compl.
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¶¶ 17-18 (Doc. 1). DMS then filed an emergency motion for the appointment of a

receiver. (Doc. 3). It explained that “DCEH and its subsidiaries are very likely insolvent,

and face claims from a variety of creditors.” Id. at 2.

         The Defendants admitted they were obligated to pay DMS. Ans. ¶ 4 (Doc. 6). And

in response to DMS’ emergency motion, the Defendants noted that “DMS perhaps

understates the distress DCEH and its subsidiaries – a number of schools spread across

the United States – are experiencing.” Resp. at 1 (Doc. 7). They explained, through the

Declaration of Randall Barton, that, as of late December, “DCEH and its subsidiaries’

trade creditors were owed $41 million” and the amount due to its senior lenders “was

$46.1 million.”3 Barton Decl. ¶¶ 14-15 (Doc. 7-1). The Defendants thus agreed that DMS’

emergency motion should be granted. Resp. at 3 (Doc. 7).

         This case is thus on all fours with In re Reisenberg. As in Reisenberg, a contract

creditor of the Defendants filed a complaint and asked the Court to appoint a receiver

over an insolvent entity facing a deluge of lawsuits that would impair the security for all

creditors. See In re Reisenberg, 208 U.S. at 94-95. Likewise, the Defendants admitted

the indebtedness and consented to the appointment of the Receiver, which constitutes a

waiver of the defense that DMS did not exhaust its remedies at law.4 See id. at 109-110.

Sunflower cannot thereafter “reopen the matter of jurisdiction.” Cincinnati Equip. Co. v.

Degnan, 184 F. 834, 841 (6th Cir. 1910) (internal citations and quotations omitted).

Rather, the Defendants’ admission of the indebtedness and their consent to the


3 The Defendants’ and the Receivership Entities’ senior secured lenders, Flager Master Fund
SPC Ltd. and U.S. Bank, N.A., have not objected to the appointment of the Receiver.
4 Sunflower, in a footnote, cites an 1868 district court opinion and a treatise published in 1886

for the proposition that a receiver cannot be appointed by consent of the parties. See Sunflower
Memo. at 4 n.3 (Doc. 54). But since these authorities far predate the Supreme Court’s holdings
in In re Reisenberg and Brown, Bonnell & Co. v. Lake Superior Iron Co., 134 U.S. 530, 535-36
(1890), they are not good law.
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appointment of the Receiver constitutes a waiver of the defense “once [and] for all, so as

to close the question as to stockholders and creditors.” Id. (internal citations and

quotations omitted).

         To be sure, consent alone may not justify the appointment of a receiver. See, e.g.,

PNC Bank, Nat. Ass’n v. Goyette Mech. Co., 15 F. Supp. 3d 754, 758 (E.D. Mich. 2014)

(explaining that “the parties’ advance consent to the appointment of a receive[r] is a

strong factor weighing in favor of appointing one”). But it does constitute a waiver of

Sunflower’s principal argument: lack of equity jurisdiction. See In re Reisenberg, 208

U.S. at 109-110; Kingsport Press v. Brief English Sys., 54 F.2d 497, 500 (2d Cir. 1931)

(“There can be no doubt that the federal court obtains jurisdiction where the defendant

corporation admits indebtedness and waives its right to have the complainant’s claim

established at law.”); People’s-Pittsburgh Tr. Co v. Hirsch, 65 F.2d 972, 975 (3d Cir.

1933) (“Again, whatever defects there might have been in the beginning to the

jurisdiction under the facts alleged in this case were waived by the defendant when it

appeared and admitted the truth of the allegations of the bill and consented to the

appointment of a receiver.”).

         In any event, the balance of factors weighed in favor of appointing a receiver. See

Resolution Tr. Corp. v. Fountain Circle Assocs. Ltd. P’ship, 799 F. Supp. 48, 51 (N.D.

Ohio 1992) (listing factors courts consider when appointing receiver); Pl.’s Mot. to

Appoint Receiver at 5-8 (Doc. 3) (explaining why the factors weighed in favor of

appointing a receiver).

         Finally, the Supreme Court has explained that a receiver may be appointed—even

at the suit of a simple contract creditor—“where the defendant is a public service

corporation and the unbroken performance of its services is in furtherance of the public
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good” and “though the public good was not involved, where legitimate private interests

might otherwise have suffered harm.” Shapiro v. Wilgus, 287 U.S. 348, 356 (1932)

(citing In re Reisenberg, 208 U.S. 90, 111 (1908), and, among other authorities, United

States v. Butterworth-Judson Corp., 269 U.S. 504, 513 (1926)). Again, this is such a

case. The Receivership Entities’ operate almost 50 campuses across the United States

for the South University, Art Institute, and Argosy University systems. All together, the

Receivership Entities are responsible for tens of thousands of students at these

campuses throughout the country. If the Receiver were not appointed, these tens of

thousands of students would have been promptly pushed out into the cold and the going

concern value of the Universities would have been destroyed with no possibility of

reorganization for the benefit of all creditors. The Receiver’s continued operation of

Receivership Entities is simply in furtherance of the public good.

         At bottom, Sunflower’s objection to the Receiver’s appointment—like the

objecting creditors’ objections in Reisenberg—should be overruled.

               2.     The Court Did Not Abuse Its Discretion in Appointing the
                      Receiver Over All of the Receivership Entities.

         Sunflower’s next objection to this Court’s Order is likewise foreclosed by

Reisenberg. Sunflower claims that “it is clear that the only property for which a receiver

could have been appointed is the amount owed for the outstanding invoices from

DCEH.” Sunflower Memo. at 8 (Doc. 54). But recall that in Reisenberg the court

appointed a receiver over the entirety of two railway companies on the application of

two contract creditors that were owed a total of $41,000. See In re Reisenberg, 208 U.S.

at 93.



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         Sunflower relies on foreclosure cases that are clearly inapposite. See Sunflower

Memo. at 7-8 (Doc. 54). And its reliance on In re Richardson's Estate, 294 F. 349 (N.D.

Tex. 1923), is likewise misplaced. In Richardson’s Estate, a state court, upon motion of

certain contract creditors and the consent of the individual defendant, appointed a

receiver. Id. at 351. Sixteen months later, the individual defendant then filed a voluntary

petition in bankruptcy. Id. The bankruptcy trustee then moved the district court to

require the state court receiver to turn over to him certain assets of the individual

defendant. Id. The district court denied the trustee’s motion and held that the Supreme

Court’s decisions in In re Reisenberg, 208 U.S. 90, 111 (1908), and Brown, Bonnell &

Co. v. Lake Superior Iron Co., 134 U.S. 530, 535-36 (1890), “to be more than merely

persuasive to this court.” In re Richardson’s Estate, 294 F. at 361.

         As noted, Reisenberg is dispositive of this issue.

                3.     Equity Counsels in Favor of Maintaining the
                       Receivership.

         Sunflower completely omits any discussion in its motion about the management

of the Receivership Entities should this Court vacate the Receivership Order. In the

Receiver’s brief management of the Receivership Entities, he has already discovered

“irregularities” in their requests pre-receivership for Title IV funding from the

Department of Education. Revised & Amended Report at 1 (Doc. 68). And his

preliminary investigation revealed that the entities pre-receivership improperly used

Title IV funds “to pay their operating expenses.” Id. at 2.

         In contrast, the Receiver has already proven his value to all interested

stakeholders. In a week, the Receiver brought suit, settled the suit—subject to court



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approval—and brought in over $3.8 million to the receivership estate. See Mot. to

Approve Settlement (Doc. 82).

         Put simply, “a receiver may be appointed” to manage a business “where it is

necessary to preserve assets from irreparable loss through mismanagement of its

officers or otherwise.” Macon Lumber Co. v. Bishop & Collins, 229 F.2d 305, 307 (6th

Cir. 1956). In fact, “equity will not hesitate to assume charge and control” if the business

has been “mismanaged and [its assets] are in imminent danger of being lost to the

stockholders and creditors through the collusion and fraud of [its] officers.” Id. Here,

the Receivership Order should not be vacated as equity counsels in favor of maintaining

the receivership.

         B.     This Court May Enjoin Sunflower.

         As an initial matter, the Sixth Circuit has squarely held in receivership cases that

“the receivership court may issue a blanket injunction, staying litigation against the

named receiver and the entities under his control unless leave of that court is first

obtained.” Liberte Capital Grp., LLC v. Capwill, 462 F.3d 543, 551 (6th Cir. 2006).

Thus, a federal district court may impose a litigation stay on a non-party to a

receivership as part of its inherent power as a court of equity to fashion effective relief.

See id. at 551-52; S.E.C. v. Wencke, 622 F.2d 1363, 1369 (9th Cir. 1980). In Wencke, the

Ninth Circuit held that a “blanket stay” of litigation was “necessary to achieve the

purposes of the receivership” and that “the district court had the power to enter the

order.” Id. Likewise, both the Second Circuit and the Sixth Circuit have approved anti-

litigation injunctions in receivership proceedings. See S.E.C. v. Byers, 609 F.3d 87, 92

(2d Cir. 2010) (“An anti-litigation injunction is simply one of the tools available to

courts to help further the goals of the receivership.”); Liberte Capital Grp., 462 F.3d at
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551-52 (“Once assets are placed in receivership, a district court’s equitable purpose

demands that the court be able to exercise control over claims brought against those

assets. . . . To this extent, the receivership court may issue a blanket injunction, staying

litigation against the named receiver and the entities under his control unless leave of

that court is first obtained. . . . Because the court’s power of injunction in a receivership

proceeding arises from its power over the assets in question, non-parties to the

underlying litigation may be bound by a blanket stay, so long as the non-parties have

notice of the injunction.”).

         Sunflower’s arguments that this Court lacks jurisdiction over it5 and/or that it is

not subject to the stay run directly afoul of the Sixth Circuit’s holding in Liberte Capital

Group. See Sunflower Memo. at 10-12 (Doc. 54). There, the Sixth Circuit held that the

district court did not abuse its discretion in finding non-parties in contempt of its

receivership order and its corresponding injunction. Liberte Capital Grp., 462 F.3d at

557. The only requirement the Sixth Circuit imposed is that the non-party have notice of

the injunction, id. at 552, which Sunflower admits it received, see Sunflower Memo. at 9

(“Movant received the Court’s Receiver Order . . . .”) (Doc. 54).

         For these reasons, the Court’s injunction accords completely with the binding

authority of the Sixth Circuit.

         C.     The Injunction Does Not Violate the Anti-Injunction Act.

         The Anti-Injunction Act, 28 U.S.C. § 2283, is not as broad as Sunflower would

make it out to be. The act creates “an absolute prohibition against enjoining state court
5This Court’s jurisdiction over Sunflower is also based on the United States Code: by virtue of
28 U.S.C. § 754, 28 U.S.C. § 1692, and the Sixth Circuit’s holding in Haile v. Henderson Nat.
Bank, 657 F.2d 816 (6th Cir. 1981), this Court’s jurisdiction over Sunflower was perfected when
the Receiver filed his § 754 notice in the Southern District of California. See Digital Media
Solutions, LLC v. South University of Ohio, LLC et al., Case No. 3:19-mc-96 (S.D. Cal. Jan. 24,
2019).
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proceedings, unless the injunction falls within one of three specifically defined

exceptions.” Atlantic Coast Line R.R. Co. v. Bhd. of Locomotive Eng’rs, 398 U.S. 281,

286-87 (1970). But the Anti-Injunction Act “do[es] not preclude injunctions against the

institution of state court proceedings[; instead it] only bar[s] stays of suits already

instituted.” Dombrowski v. Pfister, 380 U.S. 479, 485 n.2(1965); Newby v. Enron

Corp., 302 F.3d 295, 301 (5th Cir. 2002) (holding that the Anti-Injunction Act “does not

preclude injunctions against a lawyer’s filing of prospective state court actions”)

(emphasis in original).

         Sunflower points to no case it has already filed that has been enjoined.6 Instead,

Sunflower only complains that the “Receiver Order enjoins [it] from pursuing a state

court action in California to enforce its rights in the property.” Sunflower Memo. at 12

(Doc. 54) (emphasis added). Dombrowski and Newby are on point in holding that the

Anti-Injunction Act does not preclude injunctions against the institution of state court

proceedings. Thus, the stay does not violate the Anti-Injunction Act.

         D.    The Receiver Order Is Not an Improper Substitute for
               Bankruptcy Proceedings.

         Sunflower contends that the Receivership Order should be vacated because “a

receivership is not a substitute for bankruptcy proceedings.” Sunflower does not,

however, cite any authority for vacating a receivership on those grounds. Rather, the

only case Sunflower cites to for this proposition merely holds that the Receiver’s motion

6 The Receiver does not concede that the three exceptions to the Anti-Injunction Act are
inapplicable. Rather, the Receiver contends that the injunction was absolutely necessary to aid
the Court’s jurisdiction over the receivership assets and to protect and effectuate the Court’s
judgments. See 12 Charles Alan Wright & Arthur R. Miller, Federal Practice & Procedure § 2985
(3d ed. Nov. 2018 update) (“Whichever court is entitled to retain control over the property
pursuant to the receivership, be it federal or state, has the power to enjoin interference by other
courts should that become necessary.”) (footnotes and citations omitted). But because
Sunflower’s motion can be decided on broader grounds, the Receiver will not address the
exceptions in detail at this time.
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for an injunction was not well taken—not that the receivership should be vacated

entirely. See generally Fed. Nat. Mortg. Ass'n v. Olympia Mortg. Corp., No. 04 CV

4971NGMDG, 2005 WL 2205335 (E.D.N.Y. Sept. 9, 2005). In fact, the Second Circuit

has “never vacated or modified a receivership order on the ground that a district court

had improperly attempted to effect a liquidation.” S.E.C. v. Am. Bd. of Trade, Inc., 830

F.2d 431, 437 (2d Cir. 1987).

         DMS and the Defendants both spent considerable time explaining why

bankruptcy was not and is not an option: it would render the universities operated by

the Receivership Entities ineligible to receive federal grants and student loans provided

under the Higher Education Act of 1965. Pl.’s Mot. to Appoint Receiver at 2-3 (Doc. 3)

(citing 20 U.S.C. § 1002(a)(4)(A); 34 C.F.R. § 600.7 (a)(2)); Barton Decl. ¶ 18 (Doc. 7-1).

The going concern value of the Receivership Entities would therefore be irrevocably

damaged—to the harm of all stakeholders, Sunflower included. This Court did not abuse

its discretion, in light of these facts, in appointing the Receiver and concluding that “a

bankruptcy filing is not reasonable or practicable in the circumstances.” Receivership

Order at 3 (Doc. 8); see S.E.C. v. Malek, 397 F. App’x 711, 715 (2d Cir. 2010) (holding

that district court did not abuse its discretion in concluding that “it would be inequitable

to force the case into bankruptcy”).

         E.     The Court Should Not—At These Early Stages—Lift the Stay to
                Allow Sunflower to Initiate Eviction Proceedings.

         Finally, and in the alternative, Sunflower argues that the Court should lift the stay

and allow it to initiate eviction proceedings. See Sunflower Memo. at 15 (Doc. 54). Given

the early stages of this receivership, the Court should decline to do so.



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         The Ninth Circuit’s decision in S.E.C. v. Wencke, 742 F.2d 1230 (9th Cir. 1984)

(“Wencke II”), “provid[es] the framework to consider for lifting the stay.” S.E.C. v.

Vescor Capital Corp., 599 F.3d 1189, 1196 (10th Cir. 2010); see also S.E.C. v. One Equity

Corp., No. 2:08-CV-667, 2010 WL 4878993, at *6 (S.D. Ohio Nov. 23, 2010) (finding

that although the Sixth Circuit “has not articulated a test for determining whether a

receivership stay should be lifted,” the Wencke II standard “appears to be the applicable

standard”). The Wencke II court articulated a three-prong test to determine whether a

receivership stay should be lifted:

               (1) whether refusing to lift the stay genuinely preserves the
               status quo or whether the moving party will suffer
               substantial injury if not permitted to proceed; (2) the time in
               the course of the receivership at which the motion for relief
               from the stay is made; and (3) the merit of the moving
               party's underlying claim.

Wencke II, 742 F.2d at 1231. This Court has discretion in applying this test. Id.

Sunflower bears the burden of proving the receivership stay should be lifted. E.g.,

United States v. ESIC Capital, Inc., 675 F. Supp. 1462, 1462 (D. Md. 1987).

         Here, the Wencke II factors weigh in favor of maintaining the stay for the same

reasons the Receiver articulated in opposition to Hemingway at Richmond, LLC’s

motion for relief from the stay. See generally Receiver Opp. (Doc. 76). Briefly, “[t]he

time at which the motion for relief from the stay is made [] bears on the exercise of the

district court's discretion.” S.E.C. v. Wencke, 622 F.2d 1363, 1373 (9th Cir. 1980)

(“Wencke I”). Thus, “[w]here the motion for relief from the stay is made soon after the

receiver has assumed control over the estate, the receiver's need to organize and

understand the entities under his control may weigh more heavily than the merits of the

party's claim.” Id. at 1373-74; see also S.E.C. v. One Equity Corp., No. 2:08-CV-667,

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2010 WL 4878993, at *7 (S.D. Ohio Nov. 23, 2010) (noting that court denied creditor’s

first motion to lift receivership stay because “the receivership was in its early stages” and

“the Receiver needed additional time to identify receivership assets and to investigate

and resolve relevant issues pertaining thereto”).

         “Generally, courts are reluctant to lift litigation stays early in a receivership where

lifting a stay would disrupt the receiver’s duty to organize and understand its assets.”

United States v. JHW Greentree Capital, L.P., No. 3:12-CV-00116 VLB, 2014 WL

2608516, at *7 (D. Conn. June 11, 2014) (collecting authority). In fact, courts have held

that the timing factor weighed in favor of a receiver where the receivership was

anywhere from three months old,7 to six months old,8 to two years old9 at the time of the

creditor’s motion.

         Here, the timing factor clearly weighs in favor of the Receiver and is dispositive of

Sunflower’s motion. The Receiver was appointed a little more than one month ago and

is only just beginning to untangle the many financial transactions involving tens of

millions of dollars and to understand the complex relationships between the various

Receivership Entities.

III.     CONCLUSION
         For the foregoing reasons, the Court should deny Sunflower’s motion.




7 F.T.C. v. 3R Bancorp, No. 04 C 7177, 2005 WL 497784, at *3 (N.D. Ill. Feb. 23, 2005).
8 S.E.C. v. Illarramendi, No. 3:11CV78 JBA, 2012 WL 234016, at *6 (D. Conn. Jan. 25,
2012).
9 United States v. ESIC Capital, Inc., 675 F. Supp. 1462, 1464 (D. Md. 1987).
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Dated: March 4, 2019                           Respectfully submitted,

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                              CERTIFICATE OF SERVICE

         The foregoing was electronically filed this 4th day of March, 2019. Notice of this

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Parties may access this filing through the Court’s system.

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